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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                            MDL 2724
PRICING ANTITRUST LITIGATION                              16-MD-2724

                                                          HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS


                                 PRETRIAL ORDER NO. 135
                                 (SPECIAL MASTER FEES)


       AND NOW, this 24th day of August 2020, upon consideration of the application for fees

and costs incurred by Special Master David Marion for the months of June and July 2020, which

was submitted to the Court and Liaison Counsel pursuant to Pretrial Order No. 49, and finding

that the work, fees and costs reflected thereon are “reasonably necessary” for the fulfillment of

the Special Master’s duties, and without objection from counsel, it is hereby ORDERED that the

application for fees and costs is APPROVED in full in the amount of $53,444.00. Plaintiffs and

Defendants shall each make payment of their respective shares of the approved amount directly

to the Special Master.

       It is so ORDERED.



                                                     BY THE COURT:

                                                     /s/ Cynthia M. Rufe
                                                     ____________________
                                                     CYNTHIA M. RUFE, J.
